Docusign Envelope ID: 11C790F3-9C66-4D68-B8D9-AB0E860683BF
                    Case 1:24-cr-00542-AS             Document 433-1    Filed 07/02/25      Page 1 of 1



            July 2nd, 2025

            Dear Judge Subramanian,

            I am writing to express my grave concern over the prospect of Sean Combs being released from
            custody. While I appreciate the fairness you have shown throughout this proceeding, I feel
            compelled to be unequivocal about the danger he poses to the public and to the individuals who
            have risked everything by coming forward.

            Mr. Combs has a long, well-documented history of violent, coercive, and retaliatory behavior.
            Over the years, he has repeatedly escaped meaningful accountability, and each time this has
            only reinforced his sense of impunity. If he is released now, I have no doubt he will see it as yet
            another license to continue intimidating, threatening, and harming people who challenge or
            expose him.

            Many of us have firsthand knowledge of the fear he instills in those around him. I can say
            without hesitation that he is a serious and immediate threat to victims, witnesses, and the
            broader community. His pattern of violence—particularly while engaged in the trafficking of
            individuals for prostitution—combined with unchecked substance abuse, makes it clear that he
            is not ready to re-enter society safely or responsibly.

            To release Mr. Combs without substantial consequence would undermine the integrity of this
            process and send a dangerous message: that wealth and influence can shield someone
            indefinitely from accountability. It will also endanger those who cooperated with this investigation
            under subpoena, who are already living in fear of retaliation.

            I urge you in the strongest possible terms to prioritize the safety of victims and witnesses over
            any consideration of leniency. Mr. Combs has had countless opportunities to change, and he
            has chosen instead to escalate his harmful conduct. Allowing him back into the community now
            would be a profound mistake.

            Thank you for your time and for your commitment to protecting the public from those who
            repeatedly demonstrate they are unwilling to respect the law.

            Respectfully,

            Deonte Nash
